                      Case 17-21018-LMI      Doc 165     Filed 04/17/20     Page 1 of 1
Form CGFCRD3 (4/4/2019)

                             United States Bankruptcy Court
                                      Southern District of Florida
                                        www.flsb.uscourts.gov
                                                                                 Case Number: 17−21018−LMI
                                                                                 Chapter: 13

In re:
Aleida C. Nunez
9940 SW 155th Avenue
Miami, FL 33196

SSN: xxx−xx−6797


                                       NOTICE OF HEARING


NOTICE IS HEREBY GIVEN that a hearing will be held on May 11, 2020 at 10:30 AM,

by TELEPHONE. To participate call, CourtCall (888) 882−6878

**EFFECTIVE IMMEDIATELY** Until further notice or unless directed otherwise, the court will ONLY hold
hearings by TELEPHONE. To attend by telephone, a reservation to use this service must be made by no
later than 3:00 p.m. on the Business day preceding the date of the hearing. Individuals not represented by
counsel will be able to use the telephonic services FREE of charge. All attorneys shall advise their clients
NOT to appear at the courthouse.

to consider the following:

Status Conference

THIS MATTER HAS BEEN SET ON THE COURT'S MOTION CALENDAR FOR A NON−EVIDENTIARY
HEARING. THE ALLOTTED TIME FOR THIS MATTER IS TEN MINUTES.

THE MOVANT (OR MOVANT'S COUNSEL if represented by an attorney) SHALL SERVE A COPY OF
THIS NOTICE OF HEARING and, unless previously served, the above−described pleading on all required
parties within the time frames required by the Bankruptcy Rules, Local Rules, or orders of the Court, and
shall file a certificate of service as required under Local Rules 2002−1(F) and 9073−1(B). Any party
who fails to properly serve any pleadings or other paper may be denied the opportunity to be heard
thereon.

PLEASE NOTE: Photo identification is required to gain entrance to all federal courthouse facilities.
Electronic devices, including but not limited to cameras, cellular phones (including those with cameras),
iPads, tablets, pagers, personal data assistants (PDA), laptop computers, radios, tape−recorders, etc., are
not permitted in the courtroom, chambers or other environs of this court. These restrictions (except for
cameras not integrated into a cell phone device) do not apply to attorneys with a valid Florida Bar
identification card, attorneys who have been authorized to appear by pro hac vice order and witnesses
subpoenaed to appear in a specific case. No one is permitted to bring a camera or other prohibited
electronic device into a federal courthouse facility except with a written order signed by a judge
and verified by the United States Marshal's Service. See Local Rule 5072−2.

Dated: 4/17/20                                         CLERK OF COURT
                                                       By: Noemi Sanabria
                                                       Courtroom Deputy
